        Case 1:22-cv-06793-JMF           Document 1        Filed 08/09/22       Page 1 of 10




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

 MATTHEW WHITFIELD,                                  )
                                                     )
                 Plaintiff,                          )
                                                     ) Case No. ______________
        v.                                           )
                                                     ) JURY TRIAL DEMANDED
 AUTOWEB, INC., MICHAEL J. FUCHS,                    )
 MATIAS DE TEZANOS, MARK N.                          )
 KAPLAN, JARED R. ROWE, JANET M.                     )
 THOMPSON, and JOSE VARGAS,                          )
                                                     )
                 Defendants.                         )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                   NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on July 25, 2022 (the

“Proposed Transaction”), pursuant to which AutoWeb, Inc. (“AutoWeb” or the “Company”) will

be acquired by affiliates of One Planet Group, LLC.

       2.      On July 24, 2022, AutoWeb’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with Unity AC 1, LLC (“Parent”) and Unity AC 2, Inc. (“Purchaser”). Pursuant to

the terms of the Merger Agreement, Purchaser commenced a tender offer (the “Tender Offer”) to

purchase all of AutoWeb’s outstanding common stock for $0.39 in cash per share. The Tender

Offer is set to expire on August 30, 2022.
        Case 1:22-cv-06793-JMF           Document 1       Filed 08/09/22       Page 2 of 10




       3.      On August 3, 2022, defendants filed a Solicitation/Recommendation Statement (the

“Solicitation Statement”) with the United States Securities and Exchange Commission (“SEC”) in

connection with the Proposed Transaction.

       4.      The Solicitation Statement omits material information with respect to the Proposed

Transaction, which renders the Solicitation Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(e), 14(d), and 20(a) of the Securities Exchange

Act of 1934 (the “1934 Act”) in connection with the Solicitation Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over all claims asserted herein pursuant to Section 27 of

the 1934 Act because the claims asserted herein arise under Sections 14(e), 14(d), and 20(a) of the

1934 Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391 because a portion of the transactions and

wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of AutoWeb common stock.

       9.      Defendant AutoWeb is a Delaware corporation and maintains its principal

executive offices at 400 North Ashley Drive, Suite 300, Tampa, Florida 33602. AutoWeb’s

common stock trades on the NASDAQ, which is headquartered in New York, New York, under

the ticker symbol “AUTO.”


                                                  2
       Case 1:22-cv-06793-JMF            Document 1     Filed 08/09/22      Page 3 of 10




       10.     Defendant Michael J. Fuchs is a director and Chair of the Board of the Company.

       11.     Defendant Matias de Tezanos is a director of the Company.

       12.     Defendant Mark N. Kaplan is a director of the Company.

       13.     Defendant Jared R. Rowe is a director, Chief Executive Officer, and President of

the Company.

       14.     Defendant Janet M. Thompson is a director of the Company.

       15.     Defendant Jose Vargas is a director of the Company.

       16.     The defendants identified in paragraphs 10 through 15 are collectively referred to

herein as the “Individual Defendants.”

                              SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

       17.     AutoWeb provides high-quality consumer leads, clicks, and associated marketing

services to automotive dealers and manufacturers throughout the United States.

       18.     The Company also provides consumers with robust and original online automotive

content to help them make informed car-buying decisions.

       19.     On July 24, 2022, Auto Web’s Board caused the Company to enter into the Merger

Agreement.

       20.     Pursuant to the terms of the Merger Agreement, Purchaser commenced the Tender

Offer to acquire all of AutoWeb’s outstanding common stock for $0.39 in cash per share.

       21.     According to the press release announcing the Proposed Transaction:

       AutoWeb, Inc. (Nasdaq: AUTO) (“AutoWeb” or the “Company”), an automotive
       matchmaking platform connecting in-market car shoppers to their preferred vehicle
       transactions, announced that it has entered into a definitive merger agreement to be
       acquired by a subsidiary (the “Purchaser”) of One Planet Group, LLC (“One Planet
       Group”), under which the Purchaser will pay a cash purchase price of $0.39 per
       share of AutoWeb. Payam Zamani, One Planet Group’s CEO, will assume the role



                                                3
        Case 1:22-cv-06793-JMF           Document 1      Filed 08/09/22     Page 4 of 10




       of President and CEO of AutoWeb, Inc., and Jared Rowe will transition out of the
       business.

       The acquisition, which has been approved by the Company’s Board of Directors,
       based on the recommendation of a Special Committee of the Board consisting of
       independent, disinterested directors, is structured as a two-step merger, with the
       first step being a tender offer for all issued and outstanding shares of AutoWeb by
       the Purchaser and the second step being a merger in which any shares of AutoWeb
       that were not tendered in the tender offer would be converted into the right to
       receive the same cash price per share as stockholders who tendered in the tender
       offer. The factors considered by the Special Committee and the Board are further
       described in the Current Report on Form 8-K filed by the Company on the date of
       this release. The parties have agreed to commence the tender offer by August 1,
       2022.

       The closing of the tender offer and acquisition are subject to customary closing
       conditions and other terms and conditions detailed in the merger agreement. The
       merger is expected to close by September 16, 2022.

       The Company is represented in this transaction by its financial advisor, Houlihan
       Lokey, and its legal counsel, Gibson Dunn & Crutcher LLP. One Planet Group is
       represented by its legal counsel, Mayer Brown LLP.

The Solicitation Statement Omits Material Information, Rendering It False and Misleading

       22.     Defendants filed the Solicitation Statement with the SEC in connection with the

Proposed Transaction.

       23.     As set forth below, the Solicitation Statement omits material information with

respect to the Proposed Transaction, which renders the Solicitation Statement false and misleading.

       24.     First, the Solicitation Statement omits the Company’s financial projections.

       25.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.

       26.     Second, the Solicitation Statement omits material information regarding the

analyses performed by the Company’s financial advisor in connection with the Proposed



                                                4
        Case 1:22-cv-06793-JMF           Document 1        Filed 08/09/22       Page 5 of 10




Transaction, Houlihan Lokey Capital, Inc. (“Houlihan Lokey”).

       27.      With respect to Houlihan Lokey’s Liquidation Analysis, the Solicitation Statement

fails to disclose the basis for the assumption that the Company’s accounts receivable could be

recovered at a rate ranging from 50% to 90%.

       28.      When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

       29.      Third, the Solicitation Statement fails to disclose the timing and nature of any past

services Houlihan Lokey has provided for the parties to the Merger Agreement and their affiliates,

and the amount of compensation Houlihan Lokey has received or will receive for providing the

services.

       30.      Fourth, the Solicitation Statement fails to disclose whether the Company entered

into any non-disclosure agreements that contained “don’t ask, don’t waive” provisions.

       31.      The omission of the above-referenced material information renders the Solicitation

Statement false and misleading.

       32.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                              COUNT I

            (Claim for Violation of Section 14(e) of the 1934 Act Against Defendants)

       33.      Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       34.      Section 14(e) of the 1934 Act states, in relevant part, that:

       It shall be unlawful for any person to make any untrue statement of a material fact
       or omit to state any material fact necessary in order to make the statements made,
       in the light of the circumstances under which they are made, not misleading . . . in
       connection with any tender offer or request or invitation for tenders[.]



                                                   5
        Case 1:22-cv-06793-JMF          Document 1        Filed 08/09/22     Page 6 of 10




       35.     Defendants disseminated the misleading Solicitation Statement, which contained

statements that, in violation of Section 14(e) of the 1934 Act, in light of the circumstances under

which they were made, omitted to state material facts necessary to make the statements therein not

misleading.

       36.     The Solicitation Statement was prepared, reviewed, and/or disseminated by

defendants.

       37.     The Solicitation Statement misrepresented and/or omitted material facts in

connection with the Proposed Transaction as set forth above.

       38.     By virtue of their positions within the Company and/or roles in the process and the

preparation of the Solicitation Statement, defendants were aware of this information and their duty

to disclose this information in the Solicitation Statement.

       39.     The omissions in the Solicitation Statement are material in that a reasonable

shareholder will consider them important in deciding whether to tender their shares in connection

with the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available.

       40.     Defendants knowingly or with deliberate recklessness omitted the material

information identified above in the Solicitation Statement, causing statements therein to be

materially incomplete and misleading.

       41.     By reason of the foregoing, defendants violated Section 14(e) of the 1934 Act.

       42.     Because of the false and misleading statements in the Solicitation Statement,

plaintiff is threatened with irreparable harm.

       43.     Plaintiff has no adequate remedy at law.




                                                 6
       Case 1:22-cv-06793-JMF           Document 1       Filed 08/09/22       Page 7 of 10




                                           COUNT II

              (Claim for Violation of 14(d) of the 1934 Act Against Defendants)

       44.    Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       45.    Section 14(d)(4) of the 1934 Act states:

       Any solicitation or recommendation to the holders of such a security to accept or
       reject a tender offer or request or invitation for tenders shall be made in accordance
       with such rules and regulations as the Commission may prescribe as necessary or
       appropriate in the public interest or for the protection of investors.

       46.    Rule 14d-9(d) states, in relevant part:

       Any solicitation or recommendation to holders of a class of securities referred to in
       section 14(d)(1) of the Act with respect to a tender offer for such securities shall
       include the name of the person making such solicitation or recommendation and
       the information required by Items 1 through 8 of Schedule 14D-9 (§ 240.14d-101)
       or a fair and adequate summary thereof[.]

Item 8 requires that directors must “furnish such additional information, if any, as may be

necessary to make the required statements, in light of the circumstances under which they are

made, not materially misleading.”

       47.    The Solicitation Statement violates Section 14(d)(4) and Rule 14d-9 because it

omits the material facts set forth above, which renders the Solicitation Statement false and/or

misleading.

       48.    Defendants knowingly or with deliberate recklessness omitted the material

information set forth above, causing statements therein to be materially incomplete and

misleading.

       49.    The omissions in the Solicitation Statement are material to plaintiff, and he will be

deprived of his entitlement to make a fully informed decision with respect to the Proposed

Transaction if such misrepresentations and omissions are not corrected prior to the expiration of

the Tender Offer.



                                                 7
        Case 1:22-cv-06793-JMF           Document 1       Filed 08/09/22       Page 8 of 10




       50.     Plaintiff has no adequate remedy at law.

                                            COUNT III

                      (Claim for Violation of Section 20(a) of the 1934 Act
                              Against the Individual Defendants)

       51.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       52.     The Individual Defendants acted as controlling persons of AutoWeb within the

meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions as directors

of AutoWeb and participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the false statements contained in the Solicitation Statement filed with the SEC, they

had the power to influence and control and did influence and control, directly or indirectly, the

decision making of the Company, including the content and dissemination of the various

statements that plaintiff contends are false and misleading.

       53.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Solicitation Statement alleged by plaintiff to be misleading prior to and/or shortly

after these statements were issued and had the ability to prevent the issuance of the statements or

cause them to be corrected.

       54.     Each of the Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company, and, therefore, is presumed to have had the power to

control and influence the particular transactions giving rise to the violations as alleged herein, and

exercised the same. The Solicitation Statement contains the unanimous recommendation of the

Individual Defendants to approve the Proposed Transaction. They were thus directly connected

with and involved in the making of the Solicitation Statement.

       55.     By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

1934 Act.



                                                  8
        Case 1:22-cv-06793-JMF           Document 1       Filed 08/09/22       Page 9 of 10




       56.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(e) of the 1934 Act and

Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act.

       57.     As a direct and proximate result of defendants’ conduct, plaintiff is threatened with

irreparable harm.

       58.     Plaintiff has no adequate remedy at law.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Enjoining defendants and all persons acting in concert with them from proceeding

with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to file a Solicitation Statement that does not

contain any untrue statements of material fact and that states all material facts required in it or

necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(e), 14(d), and 20(a) of the 1934 Act,

as well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury.




                                                   9
     Case 1:22-cv-06793-JMF   Document 1    Filed 08/09/22      Page 10 of 10




Dated: August 9, 2022                 RIGRODSKY LAW, P.A.

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                                    10
